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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


FLORIDA COASTAL SCHOOL OF
LAW,
                                           Civil Case No. 3:21-cv-00721
                    Plaintiff,
v.
                                           Emergency Motion for
MIGUEL CARDONA, in his official            Temporary Restraining Order
capacity as Secretary of the United        and/or Preliminary Injunction
States Department of Education, and        and Memorandum of Law
the UNITED STATES DEPARTMENT
OF EDUCATION,                              Emergency Injunctive Relief
                                           Requested
                   Defendants.




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Dated: July 20, 2021




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  EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
           AND/OR PRELIMINARY INJUNCTION

      Plaintiff, Florida Coastal School of Law (“FCSL”), respectfully moves for a

temporary restraining order and/or a preliminary injunction against the United

States Department of Education (“Department”) and Department Secretary

Miguel Cardona, in his official capacity (“Motion”). See F.R.C.P. 65. FCSL seeks

this remedy to prevent irreparable harm caused by the Department’s unlawful and

arbitrary and capricious actions to terminate FCSL’s participation in programs

offered under Title IV of the Higher Education Act (“Title IV Programs”).

      FCSL respectfully requests a ruling as soon as possible, but no later than July

27, 2021. FCSL will close imminently if relief is not granted. As with most

institutions of higher education, Title IV funding provides the overwhelming

majority of FCSL’s revenue—just over 80 percent.             FCSL cannot continue

operations without it. The school has continued to provide courses, tuition free,

over the summer term, but it cannot maintain operations for the Fall term unless

emergency relief is granted, and Title IV funding is secured. Fall classes begin on

August 23, 2021, and current students and new enrollees will have to make

alternative plans for their education. Many have already transferred to other

schools.

      Moreover, FCSL’s summer classes end on July 31, 2021. Unless FCSL can

enroll a sufficient number of students by that date, it will no longer be able to offer




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classes. An institution that ceases to provide educational programs automatically

loses Title IV eligibility by operation of law. 34 C.F.R. § 600.40(a)(1)(iii).

      FCSL brings this action under the Administrative Procedure Act (“APA”) to

challenge two final agency actions. First, on November 27, 2021, the Department

elected to continue FCSL’s participation in Title IV Programs on a provisional

basis, but it conditioned FCSL’s continued participation on the requirement that

every entity holding a direct or indirect ownership in FCSL assume joint liability

with the school by co-signing the provisional program participation agreement

(“PPA”). The Department lacked authority to make such a demand. Further, one

owner was legally precluded from signing the provisional PPA because its

formation agreement did not allow it to guarantee any obligation. FCSL requested

reconsideration of the Department’s requirement that all owners assume joint

liability, which the Department denied on March 26, 2021 (the “March 26

Decision”). On April 1, 2021, FCSL’s participation in Title IV Programs ended.

      FCSL respectfully moves this Court to order the Department to (1) vacate its

March 26, 2021, and (2) immediately restore FCSL’s Title IV eligibility subject to

the terms of its prior PPA until this matter is resolved on the merits.

      The second decision challenged in this action is the Department’s May 13,

2021 denial of FCSL’s application for Title IV reinstatement (the “May 13

decision”) and July 16, 2021 affirmation of that decision. Those two decisions

relied on factually and legally unsupportable positions, which did not represent a

fair and reasonable application of the Department’s regulations.

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      FCSL also respectfully asks this Court to order the Department to (1) vacate

the May 13 Decision and (2) immediately order the Department to restore FCSL’s

Title IV Program eligibility pursuant to the terms of its prior PPA until this matter

is resolved on the merits.

      As discussed more fully in the Memorandum of Law, the Department

currently holds a surety in the form of three irrevocable letters of credit totaling

$5,681,255. These combined letters of credit are more than sufficient to meet the

requirements of F.R.C.P. 65(c). Should it later be determined that the Department

was improperly enjoined, any damages suffered by the Department would consist

of Title IV Program funds improperly drawn or disbursed by FCSL during that

period. The letters of credit expressly permit the Department to recover funds in

such a case. Thus, no additional security is necessary.

      Prior to the July 16, 2021 of the affirmation of the denial of reinstatement,

FCSL, through counsel, notified the Department on June 29, 2021 and July 2, 2021

that it intended to seek emergency relief in federal court if the Department did not

reverse its denial of FCSL’s reinstatement application. On July 19, 2021, counsel

notified Department general counsel, via email, that FCSL would file the instant

Motion on July 20, 2021. Department counsel acknowledged receipt of that email

the same day. On July 20, 2o21 Department of Justice counsel, James Bickford

notified Counsel for FCSL of his representation of Defendants. Counsel certifies

that it will provide him, via email, this Motion, the contemporaneously filed

Complaint, and all other pleadings as soon as they are filed.

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                            MEMORANDUM OF LAW

                                      Summary

      Without emergency injunctive relief from this Court, FCSL will close. Its

students will be forced to find alternatives to finish their legal education. Its faculty

and staff will immediately lose their jobs. And a valuable source of legal

professionals in Northeast Florida will disappear. FCSL has met every legal

requirement imposed by the Department, and it even worked in good faith to meet

the Department’s ultra vires demands. But the Department demonstrated that its

true objective is to close a viable school while retaining millions of dollars in

security posted by the school. Seemingly unconcerned with the devastating impact

of its action, the Department’s justifications are so contrary to the evidence and

law, that they cannot reasonably be the Department’s genuine reasons for

destroying a law school which has provided meaningful legal training to Northeast

Florida’s most underrepresented communities. See Dep’t of Commerce v. New

York, 139 S. Ct. 2551, 2575 (2019).

      In June 2019, the Department set the terms of FCSL’s continued

participation in Title IV programs. See Compl. Ex. 1 at 1 (June 28, 2019 Letter of

Credit Demand Letter). FCSL met those conditions. Compl. ¶ 49. With full

knowledge of the financial condition of FCSL and its owner, the Department told

FSCL that it would remain eligible if it posted a $5.6 million letter of credit. Compl.

Ex. 1 at 1. It did. To ensure the survival of the school and to protect its students



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and faculty, members of management put up their own money and personal and

family member homes to secure the required collateral. Compl. ¶ 50.

      But once the Department had the letter of credit, it imposed additional

conditions that FCSL could not meet due to pre-existing agreements. The

Department demanded, after receiving the personally held capital and without any

justification, that all levels of ownership sign a provisional PPA and assume joint

responsibility for future liabilities of the school. Compl. Ex. 10 (March 26, 2021

Decision). The Department’s only explanation was that it was implementing a new

and generally applicable standard. Compl. Ex. 7. It offered no other rationale.

      The Higher Education Act (“HEA”) and the Department’s regulations plainly

prohibit such a policy. The Department can only require an institution’s ownership

to assume personal liability at the end of a provisional period and, even then, only

when it articulates a reasonable basis that it is necessary to protect the financial

interest of the United States. See 20 U.S.C. § 1099c(e); 34 C.F.R. § 668.171(f)(3).

Here, the Department demanded joint liability at the beginning of the provisional

period, which is contrary to the law. And it did so without explaining why it was

necessary.

      Nonetheless, all owners and investors agreed to sign the provisional PPA

with one exception. Compl. ¶ 99. The owner of FCSL’s parent company, Sterling

Capital Partners, LP (“Sterling”), was legally prohibited from signing the

provisional PPA based on the terms of its formation documents. Compl. Ex. 8

(January 6, 2021 letter from Sterling). On March 26, 2021, the Department

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notified FCSL that without Sterling’s signature on the PPA, its eligibility would end

as of April 1, 2021. Compl. Ex. 10.

      As an alternative, Sterling’s partners pledged an additional $1 million letter

of credit as financial security, which the Department rejected, proving that the

requirement was not about financial security. Compl. Ex. 11 (March 30, 2021 email

re: Sterling signature requirement). As the Department was aware, Sterling’s only

asset was its ownership interest in FCSL’s parent company, which would offer

little—if any—additional financial protection to the Department. See Compl. Ex. 5

(June 16 response to request for additional information). Instead, the Department

recklessly ended FCSL’s eligibility, jeopardizing the futures of its students, faculty,

and alumni.

      Imposing the requirement that Sterling co-sign the PPA was unnecessary

because FCSL’s continued participation in Title IV Programs posed no present risk

to the financial interest of the United States. See 20 U.S.C. § 1099c(e) (providing

the Department can only require the assumption of joint liability “to the extent

necessary to protect the financial interest of the United States.”) FCSL’s financial

statements demonstrate its viability with solid financial footing. See Compl. ¶¶ 159-

164). Moreover, the $5.6 million letter of credit adequately covers any potential

risk from FCSL’s continued participation.          According to the Department’s

regulations, FCSL is a financially responsible institution based on the letter of

credit. See 34 C.F.R. § 668.175(c).

      Moreover, FCSL’s financial position has only improved since posting the

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letter of credit in 2019, and it reduced its Title IV Program usage substantially. See

Compl. ¶¶ 159-164. Nonetheless, the Department suddenly changed its terms and

ended FCSL’s eligibility to participate while retaining the letter of credit. This is

arbitrary and capricious and crosses the line into bad faith.

      Further demonstrating the pretextual nature of the requirement for

Sterling’s signature, the Department continued to deny FCSL’s eligibility even after

Sterling gave up its ownership interest. Immediately after receiving notice that

FCSL’s Title IV Program participation had ended, Sterling relinquished all

ownership interests, and FCSL applied for reinstatement. Compl. Ex. 12 (April 15

Equity Forfeiture Notice); Compl. Ex. 13 (April 5 emails re: reinstatement). This

time, all remaining owners and investors agreed to sign the provisional PPA in

order to meet the Department’s so-called “updated standard.” Compl. ¶ 112.

      But the Department instead contrived new reasons to keep the school closed.

In a May 13, 2021 decision denying FCSL’s application for reinstatement, the

Department claimed that it had relied on Sterling’s signature as financial security

but said nothing about its decision to decline the $1 million letter of credit Sterling

offered. Compl. Ex. 14 at 4. The Department’s contention that Sterling’s exit

eliminated important financial security is specious given its refusal of security that

far exceeded the value of Sterling’s signature, because Sterling had no assets.

       The Department also grossly mischaracterized FCSL’s audited financial

statements to question FCSL’s ability to continue as a going concern; improperly

involved itself in a pending accreditation matter to support a baseless conclusion

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that FCSL lacked “administrative capability”; and falsely alleged FCSL violated its

fiduciary duties to the Department by failing to disclose events that FCSL had no

obligation to disclose pursuant to the Department’s detailed disclosure

requirements. See Compl. Ex. 14.

      These factual mischaracterizations and arbitrary legal positions are so

contrary to the law and evidence that its decision appears to have been calculated

to further a goal of closing FCSL while retaining the letters of credit. Indeed, all

the financial information the Department relied on in its May 13 Decision was

known to it when it issued the provisional PPA in November 2020. Had the

Department truly believed what it wrote in the May 13 decision, it would have never

offered to recertify FCSL‘s participation just a few months prior.

      Moreover, sanctioning FCSL for failing to report information that it was not

required to disclose, either by regulation or by specific request from the

Department, blatantly violates FCSL’s basic due process rights. See FCC v. Fox TV

Stations, Inc., 567 U.S. 239, 253 (2012). FCSL had no notice of an obligation to

report various accreditation matters and the proposed terms of unconsummated

transactions.

      The pretextual nature of the Department’s decision is further demonstrated

in its July 16, 2021 Affirmation of the Denial (“Affirmation”). Compl. Ex. 15.

Apparently recognizing the arbitrary nature of its prior findings, the Department

combed years of accreditation records to generate new, after-the-fact justifications

that were never raised before. The Department does not explain when it obtained

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this information or whether it was before the Department when it undertook to

close the school.

      That is concerning because the Department’s prior written explanations did

not reference or consider this newly proffered information. The Department’s

after-the-fact fabrication of support for its earlier findings casts serious doubt as

to whether the written decisions reflect the true reasons for revoking FCSL’s Title

IV. See Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575-76 (2019) )

(explaining the APA’s “reasoned explanation” requirement ensures “that agencies

offer genuine justifications for important decisions” and “[a]ccepting contrived

reasons would defeat the purpose”) (emphasis added). To be sure, this new

information also fails to provide a legally sufficient justification for its decisions.

      The Department’s actions fall well short of the APA’s requirements to apply

the law fairly and consistently. To prevent irreparable harm to FCSL and its

students this Court must vacate the March 26 Decision pending a decision on the

merits and order the Department to restore FCSL’s access to Title IV Programs,

pursuant to its original PPA. Alternatively, this Court must vacate the May 13

Decision and Affirmance and restore FCSL’s Title IV eligibility.

                                    Background

      FCSL was founded in 1996. It is a Jacksonville, Florida-based law school

with 126 currently enrolled students. Compl. ¶ 21. It has been fully accredited by

the American Bar Association (“ABA”) since 2002. Id. ¶ 22.



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      The school’s founders were legal educators who, after searching

unsuccessfully for a traditional university that would support a mission of helping

to diversify the nation’s least diverse profession, turned to private capital to finance

their undertaking. Id. ¶ 23. FCSL, over the quarter century of its existence, has

held firm to this mission. Id. In the last five years, 43 percent of FCSL’s 855

graduates have been racial minorities. Id. ¶ 24. In the academic year just ended,

approximately 40 percent of its students are minorities and approximately 60

percent are women. Id. Reflective of these achievements, and among other

recognitions, the school has been nationally recognized and has earned awards for

its commitment to diversity and inclusion. Id. ¶ 25.

      FCSL’s students leave well-prepared to succeed in their careers. Id. ¶ 26.

Over the last three years, FCSL’s graduates have outperformed those of peer

institutions on the Florida Bar Exam. Id. ¶ 27. The school’s pass rate on the most

recent bar exam, in February 2021, exceeded the state average by six percentage

points. Id. In its most recent ABA outcomes report, 90.5 percent of FCSL’s 2020

graduating class had full-time employment. Id. ¶ 28. 100% of the members of the

2020 graduating cohort who passed the bar exam in 2020 reported as fully

employed. Id.

      The FCSL community makes a profound social and professional impact

throughout the region. Id. ¶ 29. Students and faculty have contributed more than

one million hours of pro bono and clinical hours to the Northeast Florida

community. Id. ¶ 30. Alumni have become leaders in the state and local bar

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associations, judges, law partners, prosecutors, public defenders, and legislators.

Id. Currently, six of the thirteen members of the Board of Governors of the

Jacksonville Bar Association are FCSL graduates, including the President and the

President-Elect. Id. The current President of the Young Lawyers Division of the

Florida Bar is a FCSL graduate, as is a member of the Executive Committee of the

Board of Governors of the Florida Bar. Id. Among the many distinguished alumni

of the school are members of the Florida and South Carolina state legislatures, as

well as numerous state court judges. Id.

      FCSL is owned by InfiLaw Corporation, whose sole shareholder is InfiLaw

Holding, LLC.1 Id. ¶ 31. As of November 2020 (when the Department offered the

proposed provisional PPA), Sterling owned 98.6% of InfiLaw Holding. Id. ¶ 32. At

that time, Sterling was a passive investor. It held no voting rights in InfiLaw, nor

did it appoint any board members. Id. ¶ 33.

    a. The Department’s financial responsibility standards.

      The Department’s stated reasons for closing FCSL are, in part, based its

erroneous contention that FCSL is not a financially responsible institution. Title

IV Program participants must meet the Department’s financial responsibility

requirements or meet an alternative standard. See 20 U.S.C. §§ 1099c(a), (c)(3);

34 C.F.R. §§ 668.171, 668.175.     The Department reviews the audited financial

statements of participating institutions to determine financial responsibility. 20



1For ease of reference and simplicity, for the purposes of this Motion, InfiLaw
Corporation and InfiLaw Holding, LLC will be collectively referred to “InfiLaw.”
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U.S.C. § 1099c(c)(5).

        Financial responsibility is generally based on an institution’s “composite

score,” which is a weighted average of three ratios: a primary reserve ratio, an

equity ratio, and a net income ratio. 34 C.F.R. § 668.171(b)(1). As stated on the

Department’s studentaid.gov website, the composite score gauges the financial

health of an institution, not the educational quality.2 A qualifying composite score

of 1.5 or higher indicates that the institution is considered financially responsible,

subject to other requirements. Id.

        Additional requirements include: 1) the ability to provide the services

described in its official publications and statements; 2) the ability to provide

sufficient administrative resources; 3) and the ability to meet financial obligations,

including refunds of institutional charges and repayments for liabilities and debts

incurred in Title IV programs. 20 U.S.C. § 1099c(c)(1).

        If an institution fails to meet the financial responsibility requirements, it is

nonetheless deemed to be financially responsible under the “letter of credit

alternative” if it posts an irrevocable letter of credit equal to fifty percent or more

of the Title IV funds received in the most recently completed fiscal year. 20 U.S.C.

§ 1099(c)(3). For reference, FCSL’s $5.6 million letter of credit represents 78

percent of the Title IV funds it received in the fiscal year ended (“FYE”) July 31,

2020.



2   https://studentaid.gov/data-center/school/composite-scores

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      The Secretary can also act to put a school on provisional certification. See

34 C.F.R. § 668.175(f).     Under that alternative, a school is not considered

financially responsible, but can nonetheless continue to participate by, among

other things, posting a smaller letter of credit of at least ten percent of Title IV

funds received in the most recently completed fiscal year.            34 C.F.R. §

668.175(4)(i)(A).

      To place a school on provisional certification the Secretary must specify a

provisional certification period. 34 C.F.R. § 668.13(c)(2).       If the Secretary

provisionally certifies an institution based on a failure to meet financial

responsibility requirements, the provisional period expires three years from the

date the Secretary acts to provisionally certify the school, unless the Secretary

designates a shorter time. 34 C.F.R. § 668.13(c)(2)(ii) (2009 code version).3

    b. In reliance on the Department’s representation that FCSL could
       continue to participate in Title IV, InfiLaw posts a $5.6 million
       letter of credit.



3 The current code version contains an apparent scrivener’s error. When 34
C.F.R. § 668.13(c) was amended on October 29, 2009 (effective July 1,
2010), paragraph (c)(1) was amended to add an additional basis for
allowing the Secretary to provisionally certify an institution. See 74 FR
55902, 55934. This altered the numbering of the paragraphs in (c)(1),
identifying the various bases for provisional certification. However,
paragraph (c)(2), which identifies the corresponding provisional
certification periods, was not updated. Thus, the time periods in the
current version of paragraph (c)(2) clearly relate to the numbering in the
older version of (c)(1). For example, the current version of (c)(2) references
events under paragraphs (c)(1)(iii), (iv), and (e)(2), which no longer exist in
the current regulation. Compare 34 C.F.R. § 668.13(c)(1)-(2) (2009) with
34 C.F.R. § 668.13(c)(1)-(2) (2021).
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        In a June 18, 2019 letter, the Department established the terms for FCSL’s

continued participation in Title IV. Compl. Ex. 1. After reviewing Almich’s audit

report on InfiLaw’s FYE 2018 financial statement, the Department concluded that

FCSL could continue to participate in Title IV if InfiLaw posted a substantial letter

of credit. Id. at 1. The Department offered InfiLaw two choices: (1) it could post a

letter of credit in the amount of 70 percent of the Title IV received in the most

recently completed fiscal year, in which case FCSL would be considered financially

responsible under the Department’s letter of credit alternative at 34 C.F.R. §

668.175(c), or (2) it could post a 35 percent letter of credit, at which point the

Department could require FCSL to sign a new provisional PPA subject to the

Department’s provisional certification alternative under 34 C.F.R. § 668.175(f). Id.

at 2.

        As a sign of remarkable good faith, InfiLaw’s management personally

provided the collateral to support a $5,681,255 letter of credit, which, at that time,

represented 35 percent of InfiLaw’s FYE 2018 Title IV receipts. Compl. ¶ 49. To

raise the required collateral, executives pledged their personal funds. Id. ¶ 50. One

of those executives pledged his own home and the home of a relative. Id.

        At that time, InfiLaw was at its lowest point financially. Id. ¶ In fact,

Almich’s report on the FYE 2018 financial statements disclosed substantial doubt

about InfiLaw’s ability to continue as a going concern. Compl. Ex. ?? at 1. This was

a primary reason the Department required the letter of credit. Id.



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      But on a standalone basis, FCSL was on solid financial footing and was

generating income. Id. ¶¶ 159-164. It was in good standing with the ABA, and its

student outcomes continued to improve. Id. ¶ 53. InfiLaw and FCSL were also

working towards transferring FCSL to a 110-year-old nonprofit University, which

had substantial assets that would further ensure FCSL’s financial security

indefinitely. Id. ¶ 54. InfiLaw and FCSL had every reason to believe that the

personal sacrifices made to fund the letter of credit would ensure FCSL’s survival,

thereby allowing its students to continue their educations, its faculty and staff to

keep their jobs, the alumni to maintain the value of their degrees, and the

community to retain a valuable resource. Id. ¶ 51.

   c. After receiving the letter of credit, and without explanation, the
      Department imposes impossible requirements on FCSL’s
      continued participation in Title IV.

      FCSL had been waiting years for the Department to decide whether to

recertify FCSL’s Title IV eligibility, which, according to the terms of the

Department’s June 18, 2019 letter, appeared to be resolved when InfiLaw posted

the letter of credit.   Compl. ¶ 82; see Compl. Ex. 1 at 1.       Nonetheless, the

Department waited until November 27, 2020 before offering FCSL a provisional

PPA subject to the terms of that letter.      Compl. Ex. 6 (November 27, 2021

provisional PPA). But then, without explanation, the Department imposed an

additional condition requiring all owners to sign the agreement and assume joint

liability. Compl. Ex 16 (November 27, 2020 Recertification Decision).



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      Other than that condition, the provisional PPA tracked the terms of the June

2019 letter. Compl. Ex. 6. FCSL was required to post a 35 percent letter of credit.

Id. But, without explanation, the Department continued to base the letter of credit

amount on the FYE 2018 financial statements. Id. But based on the updated Title

IV numbers for FYE 2020, the letter of credit now represented roughly 78 percent

of FCSL’s Title IV—well above, the Department’s stated 70 percent threshold to

establish full financial responsibility. Compl. ¶ 90. Nonetheless, the Department

designated a three-year provisional period set expire on September 30, 2023.

Compl. Ex. 6.

      When FCSL asked the Department why it was requiring co-signers to the

PPA, the Department told FCSL that “it is an updated standard the Department is

applying for institutions with multiple levels of ownership. The Department is now

requiring the signature of each entity of 100% ownership or with a significant

majority ownership percentage. This requirement is also not unique to FCSL.” Ex.

7 (December 4, 2020 email from the Department). The Department has never

issued any notice or guidance regarding this “updated standard.” Nor did it explain

why, specifically, FCSL’s owner’s signatures were necessary. Indeed, considering

the 78 percent letter of credit currently held, FCSL had eliminated the need for

additional security. See 34 C.F.R. § 668.175(c).

      With the exception of Sterling, all of FCSL’s owners agreed to sign the

provisional PPA. Compl. ¶ 99. Sterling is a fixed-term equity fund, whose term

had expired on October 15, 2017. Compl. Ex. 8 at 1. Since that date, Sterling has

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been in dissolution, meaning that its primary focus is to sell, transfer, or otherwise

dispose of all assets. Id. at 1-2 Pursuant to the terms of its limited partnership

agreement, Sterling was expressly prohibited from extending financial guarantees

while in dissolution. Id.

      FCSL notified the Department of this fact in December 2020 and asked that

Sterling’s name be removed from the provisional PPA. Compl. Ex. 9 (December

28, 2020 letter).    It explained that Sterling had no voting rights or board

representatives at FCSL nor InfiLaw. Id. In response to the Department’s request

for additional information, Sterling provided a letter from counsel as well as copies

of the relevant agreements demonstrating that Sterling was precluded from

signing the PPA. Compl. Ex. 8.

      For the next 3 months, pursuant to 34 C.F.R. § 668.13(b)(2), FCSL’s

participation continued (consistent with the terms of the previous PPA) on a

month-to-month basis while the Department considered the information FCSL

provided and its request that Sterling not be required to co-sign the PPA. But on

March 26, 2021, the Department notified FCSL that it would not reconsider its

demand for Sterling’s signature—despite knowing that Sterling was legally barred

from providing it. Compl. Ex. 10. Without citing any regulatory basis, it explained

that absent all required signatures on the provisional PPA by March 31, 2021,

FCSL’s PPA would expire as of April 1, 2021. Id. Because Sterling was legally

prohibited from signing the agreement, the PPA expired and FCSL was no longer

eligible for Title IV. Compl ¶ 109.

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   d. The Department Arbitrarily and Capriciously Denies FCSL’s
      Application for Reinstatement.

        In order to resolve what FCSL believed was the only impediment to its Title

IV eligibility, Sterling relinquished all ownership interest in InfiLaw. Compl. Ex. 5.

FCSL notified the Department via email, to which the Department replied, “To re-

establish eligibility, FCSL must submit an application for reinstatement to Title IV

HEA programs under its current ownership structure.” Ex. 13 (April 5, 2021 emails

re: reinstatement application). With all the then-existing entities with direct or

indirect ownership of FCSL agreeing to sign the provisional PPA, FCSL applied for

reinstatement of its Title IV eligibility. Compl. ¶ 112.

        Even though FCSL had continuously met every requirement the Department

placed on continuing eligibility, the Department denied its request in a May 13,

2020 decision. Compl. Ex. 14. FCSL promptly requested reconsideration of that

Decision on May 24, 2021. Compl. Ex. 19. And two months later, the Department

issued its July 16, 2021 Affirmance (Compl. Ex. 15), leaving FCSL no choice but to

seek emergency relief in this Court.

                                     Argument

   I.      Standard of Review.

        A. Temporary Restraining Order.

        A district court may grant preliminary injunctive relief when a party

establishes each of four separate requirements: (1) it has a substantial likelihood

of success on the merits; (2) irreparable injury will be suffered unless the


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injunction issues; (3) the threatened injury to the movant outweighs whatever

damage the proposed injunction may cause the opposing party; and (4) if issued,

the injunction would not be adverse to the public interest. Jones v. Governor of

Fla., 950 F.3d 795, 806 (11th Cir. 2020).

      In considering whether to issue a preliminary injunction “district courts are

empowered with broad equitable power—particularly in these uncertain times—to

grant a remedy that may present the only adequate remedy.” Gayle v. Meade,

2020 U.S. Dist. LEXIS 100960, at *44 (S.D. Fla. June 5, 2020) (citing Swann v.

Charlotte-Mecklenburg Bd. Of Educ., 402 U.S. 1, 15-16 (1971) (“Once a right and a

violation have been shown, the scope of a district court's equitable powers to

remedy past wrongs is broad, for breadth and flexibility are inherent in equitable

remedies.”).

      B. Judicial review under the Administrative Procedures Act.

      The Department’s determination of an institution's Title IV eligibility

constitutes an informal adjudication subject to judicial review as set out in the

APA. Int'l Junior Coll. of Bus. & Tech., Inc. v. Duncan, 2013 U.S. Dist. LEXIS

136906, at *43 (D.P.R. Sep. 20, 2013) (citing Sistema Universitario Ana G.

Mendez v. Riley, 234 F.3d 772, 777 (1st Cir. 2000)). “Under the Administrative

Procedure Act, [the Court] must ‘hold unlawful and set aside agency action,

findings, and conclusions found to be . . . arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.’” Black Warrior Riverkeeper,

Inc. v. U.S. Army Corps of Eng'rs, 781 F.3d 1271, 1288 (11th Cir. 2015). Similarly,

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Courts must set aside agency action that is “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” High Point, LLLP v. Nat'l

Park Serv., 850 F.3d 1185, 1193 (11th Cir. 2017).

         An agency action is arbitrary and capricious “where the agency has relied on

factors which Congress has not intended it to consider, entirely failed to consider

an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Defs. of

Wildlife v. United States Dep't of the Navy, 733 F.3d 1106, 1115 (11th Cir. 2013).

   II.      FCSL is likely to succeed on the merits.

            A. The Department Arbitrarily and Capriciously refused to
               continue FCSL in Title IV Programs.

               1. The Department offered no explanation for                       its
                  requirement that Sterling sign the provisional PPA.

         The Department imposed ultimate sanction on FCSL—removal from Title IV

programs—because Sterling could not co-sign the PPA. But the Department failed

to explain why it needed Sterling to assume joint liability for FCSL’s potential

future liabilities. Thus, the Department’s refusal to countersign the PPA violated

the most basic requirement of agency decision making: to “examine the relevant

data and articulate a satisfactory explanation for its action.” Motor Vehicle Mfrs.

Ass'n v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983).

         To be sure, the Department does not have unfettered authority to require

school owners to assume joint liability whenever it chooses. Congress only allows

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the Department to impose such requirements “to the extent necessary to protect

the financial interest of the United States.” 20 U.S.C. § 1099c(e)(1). This means the

Department cannot require the assumption of joint liability as a matter of course,

as it appears to suggest with its “updated standard.” And even if it could, the

Department has not met the APA’s requirement to provide a reasoned explanation

for its apparent change in policy. FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515

(2009) (“An agency may not, for example, depart from a prior policy sub silentio.

. . . And of course, the agency must show that there are good reasons for the new

policy”).

      Because the Department failed to offer any justification for why Sterling’s

signature was necessary to protect the financial interest of the United States, the

decision is arbitrary and capricious as a matter of law. National Nutritional Foods

Assoc. v. Weinberger, 512 F.2d 688 (2d Cir. 1975) (“even under the ‘arbitrary and

capricious’ standard agency action will not be upheld where inadequacy of

explanation frustrates review”).

             2. The Department’s regulations precluded it from
                demanding Sterling’s assumption of personal liability.

      In addition to the HEA’s limitations, the Department’s own regulations limit

the circumstances in which it may require owners to assume personal liability.

Under those regulations, the Department may only require an owner to assume

personal liability if “at the end of the period or which the Secretary provisionally




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certified the institution, the institution is still not financially responsible.” 34

C.F.R. § 668.175(f)(3)(B).

      FCSL was fully certified when the Department offered the proposed

provisional PPA requiring Sterling’s signature in November 2020. It was only then

that the Department to action to continue FCSL’s participation in Title IV on a

provisional basis. In other words, the Department violated its regulations by

requiring Sterling’s signature at the beginning of the provisional period, rather

than at the end. Id.

      Indeed, the last PPA FCSL executed was dated June 15, 2011, and granted

FCSL full certification. Compl. ¶ 86. When that PPA expired on June 30, 2016, it

continued, month-to-month and with the same terms, until the Department issued

its decision on FCSL’s original 2016 application for recertification. See 34 C.F.R. §

668.13(b)(2).

      The Department waited until November 27, 2020 to issue that decision,

which determined that FCSL could continue participation in Title IV (subject to

the June 18, 2019 terms) on a provisional basis for a term that expired on

September 30, 2023. Ex. 16 (November 27, 2020 Recertification Decision). If, at

the end of that term, the Department determined Sterling’s assumption of liability

was necessary to protect the financial interest of the United States, it could then—

and only then—require its signature.       34 C.F.R. § 171(f)(3)(b); 20 U.S.C. §

1099c(e)(1).



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             3. The Department’s demand for Sterling’s signature is
                contrary to the evidence.

      There is significant evidence that the financial interests of the United States

are amply protected without Sterling’s assumption of joint liability. See Defs. of

Wildlife, 733 F.3d at 1115 (an agency action is arbitrary and capricious if its

decision runs counter to the evidence before it). At the outset, other than the

liabilities InfiLaw has been trying to settle with the Department related to the

closure of its two former schools, FCSL has never failed to pay any liability assessed

by the Department. Compl. ¶ 155. And to the extent the Department had any

concerns about FCSL’s ability to pay future liabilities it already held a $5.6 million

letter of credit, representing 78 percent of the Title IV funds FCSL received in the

most recently completed fiscal year. Id. ¶ 49.

      The Department previously said this level of security was more than enough

to protect its financial interests going forward. Compl. Ex. at 1. Less than a year

earlier, in June 0f 2019, the Department determined that a 70 percent letter of

credit would be sufficient to demonstrate financial responsibility. Id. At that time,

the Department was aware of all potential liabilities associated with the closure of

InfiLaw’s other schools and the then-current financial conditions of both InfiLaw

and FCSL. Id. The Department now holds more protection than what it previously

deemed sufficient in 2019.

      And FCSL’s and InfiLaw’s financial position have improved substantially

since June 2019. Notably, Almich concluded in its reports on InfiLaw’s FYE 2019


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and FYE 2020 financial statements that it no longer had substantial doubt about

FCSL’s ability to continue as a going concern. Ex. 3 ¶¶ 12-14 (Decl. of Ryan

Malouf).

      This is significant because after FYE 2018, when InfiLaw’s ability to continue

operations was in doubt, the Department considered a 35 percent letter of credit a

sufficient level of security. But when InfiLaw’s and FCSL’s improved financial

condition eliminated that doubt in FYE 2019 and FYE 2020, the Department

concluded that a 78 percent letter of credit was not sufficient. That makes no

sense. And the Department has certainly not offered a reasonable explanation for

these irreconcilable positions.

      FCSL’s FYE 2019 and 2020 audits also show that it has a positive cash flow

notwithstanding a net operating loss caused by non-cash expenses. Compl. ¶¶ 160

- 164. Put another way, FCSL continued to show that it is a viable operation.

      The Department’s reliance on InfiLaw’s consolidated audits says little about

the continued viability of the school. Its two other law schools have not been

operational for several years. Id. ¶ 34. And the net losses and working capital

deficiencies cited by the Department (about which it has known since June 2019)

were caused by losses stemming from InfiLaw’s writing off of the substantial value

of those schools. Id. ¶ 168. These paper losses do not negatively impact the future

operation of FCSL. In fact, the Department is supposed to exclude these losses

when calculating an institutions financial responsibility ratios.      34 C.F.R. §

668.172(c).

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      In addition to FCSL’s letter of credit and improved financial position, all

others with ownership interests agreed to sign the PPA, providing even more

security to the Department. Compl. ¶ 112.

      It is also telling that the Department never sought to determine whether

Sterling’s assumption of joint liability would provide any security at all. The

Department did not seek financial statements, ask about assets, or otherwise

inquire about Sterling’s ability to pay liabilities. In fact, the Department was

informed that Sterling’s only asset was its ownership in InfiLaw. Compl. Ex. 5 at 2

(June 16, 2020 Response to Additional Requests re: Sterling Waiver Letter). Thus,

there is no evidence that Sterling’s signature—even if it was not prohibited from

doing so—would do anything to protect the financial interests of the United States.

      The Department’s failure to consider Sterling’s offer of $1 million in

guaranteed security when it knew Sterling had no assets was itself arbitrary and

capricious. See Defs. of Wildlife, 733 F.3d at 1115 (an agency action is arbitrary and

capricious where it “entirely failed to consider an important aspect of the

problem”).

         B. The Department’s bases for denying FCSL’s application for
            reinstatement are without legal and factual support.

      To complete its efforts to close FCSL, the Department took legally and

factually unsupportable positions in denying FCSL’s application for reinstatement.

With Sterling relinquishing its ownership interest, the only roadblock to

continuing FCSL’s participation had been removed: FCSL now had 100 percent of


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its ownership interest as signatories on the provisional PPA.         And between

November 27, 2020 (when the Department determined to recertify FCSL on a

provisional basis) and April 8, 2021 (the date of FCSL’s application for

reinstatement), nothing else happened that could reasonably have affected the

Department’s analysis of FCSL’s fitness to participate in Title IV.

      But the Department nonetheless refused to budge. Because it had no new

information to support its decision, it arbitrarily fabricated new grounds to remove

FCSL from Title IV. The Department’s strained interpretations of governing law

and unreasonable factual positions taken in its decision leave little doubt that the

decision was mere pretext for its pre-determined goal of closing the school. See

DOC v. New York, 139 S. Ct. 2551, 2575-76 (2019).

             1. The Department unreasonably misinterpreted audits of
                InfiLaw’s financial statements.

      First, in its May 13, 2021 decision, the Department fabricated disclosures in

InfiLaw’s audited financial statements to bolster its erroneous conclusion that

FCSL does not meet financial responsibility requirements. Under 34 C.F.R. §

668.171(h), the Department may deem an institution not financially responsible if

its audited financial statements “contain a disclosure in the notes [] that there is

substantial doubt about the institution’s ability to continue as a going concern as

required by accounting standards.”

      Neither Holding’s nor FCSL’s audited financial statements can reasonably

be read to contain such a disclosure.         See Compl. Ex. 3. The Department’s


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regulations are clear that any such disclosure must be made “as required by

accounting standards.” 34 C.F.R. § 668.171(h). Had Almich concluded that

substantial doubt existed about InfiLaw’s ability to continue as a going concern, it

was required to disclose that opinion in a section titled “Substantial Doubt about

the Entity’s Ability to Continue as a Going Concern.” Compl. Ex. 3 ¶ 17. InfiLaw’s

financials contain no such section. Id.

      It defies logic that the Department reasonably believed Almich disclosed

substantial doubt about InfiLaw’s or FCSL’s ability to continue as a going concern.

The Department’s fundamental misapplication of its financial responsibility

regulations cannot be a mistake or a difference of opinion.            Rather, the

Department’s unsupportable position indicates the pretextual nature of the

Decision.

      Presented with a declaration from Almich plainly exposing the Department’s

mischaracterization (see Compl. Ex. 3), the Department had no choice but to

concede that it failed to properly interpret the financial statement. Compl. Ex. 15

at 1. Of more concern, the Department admitted that it came to its erroneous

conclusion without examining relevant evidence. Id. at 2 (“the Department will

conduct a further review that includes obtaining the audit work papers concerning

the going concern issue”); see Defs. of Wildlife, 733 F.3d at 1115. In other words,

the Department determined there was substantial doubt about FCSL’s ability to

continue as a going concern without a valid auditor disclosure and without



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looking at the relevant documents. Compl. Ex. 15 at 2. Indeed, these are

inquiries the Department must make before it closes a school—not after.

             2. The Department improperly relied on routine
                accreditation findings to bar FCSL from Title IV
                programs.

      Next, the Department cites February 21, 2021 ABA findings of

noncompliance with various accreditation standards to conclude that FCSL is not

providing services to its students. Compl. Ex. 14 at 3-4; Compl. Ex. 15 at 2-6.

Notably, the Department does not identify any instance where the ABA took

adverse action or sanctions against the school for those findings. Nonetheless,

without any independent fact finding of its own, the Department cites those same

findings as a basis for denying FCSL’s Title IV eligibility. See Id. But only the ABA

is responsible for overseeing FCSL’s compliance with the ABA’s requirements. See

20 U.S.C. § 3403(b); 20 U.S.C. § 1232a. The Department has no authority to

impose sanctions where the ABA did not. Id.

      In fact, accreditors, including the ABA, routinely cite institutions for failing

to meet one or more standards of accreditation. Compl. Ex. 17 at ¶ 8 (Declaration

of Donald Polden). The mere existence of these findings is not sufficient evidence

to conclude that an institution’s accreditation status is in jeopardy or that the

institution is not capable of providing services to its students. Id. ¶ 1. In fact, the

types of findings relied on by the Department in denying FCSL’s eligibility are not

unusual in ABA accreditation process. Id. ¶¶ 19-20.



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                a.    The Department is expressly precluded from
                      prematurely interfering in accreditation matters.

      Both the HEA and the Department’s regulations prohibit the Department’s

involvement in accreditation matters until an accreditor initiates adverse action

against an institution or specifically notifies the Department of failures to meet

Title IV requirements. Armstrong v. Accrediting Council for Continuing Educ. &

Training, 980 F. Supp. 53, 63 (1997) (“While the Secretary has the authority to

decide whether a particular accreditor’s standards warrant approval as a reliable

indicator of educational quality, 20 U.S.C. § 1099b(a), the Department itself is

barred from interfering in an accrediting agency’s assessment regarding individual

schools. 20 U.S.C. § 3403(b)”).

      Indeed, Congress expressly barred the Department from interfering in an

accrediting agency’s assessment of institutions. See 20 U.S.C. § 3403(b) (“No

provision of a program administered by the Secretary or by any other officer of the

Department shall be construe to authorize the Secretary or any such officer to

exercise and direction, supervision, or control . . . over any accrediting agency or

association”); see also 20 U.S.C. § 1232a (precluding Department interference in

the curriculum, program of instruction, or personnel of any institution).

      Moreover, the HEA and the Department’s implementing regulations require

accreditors to provide substantial due process to an institution before it can take

adverse action. These requirements protect institutions against the loss of Title IV

eligibility before being given the opportunity to address an accreditor’s findings


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and take corrective measures. Accrediting agencies must adopt review procedures

that afford due process and, specifically, “sufficient opportunity for a written

response . . . regarding any deficiencies identified by the agency,” to be considered

by the agency within a timeframe determined by the agency, and before any

adverse action is taken. 20 U.S.C. § 1099b(a)(6); 34 C.F.R. § 602.25. The

Department’s regulations also require that when the accreditor determines an

institution is out of compliance, it must “require the institution to take appropriate

action to bring itself into compliance with the agency’s standards within a time

period that must not exceed . . . two years.” 34 C.F.R. § 602.20.

      These due process requirements are important because accreditation

standards are rarely bright line requirements and often involve subjective

assessments of an institution’s ability to develop and implement complicated

policies and procedures. Compl. Ex. 17 ¶ 15. The accreditation process requires

substantial back and forth between institutions and their accreditors, and

Congress prohibits the Department’s premature interference in that process.

Compl. Ex. 17 at ¶ 16; 20 U.S.C. § 3403(b). Those limitations would be meaningless

if the Department is permitted, at its whim and without due process, to

independently determine at any time whether an institution is meeting the

requirements established by its accreditor.

      In fact, an accreditor is expressly required to notify the Department if it has

reason to believe an institution is not meeting Title IV requirements. 34 C.F.R §

602.27(a)(6). The Department does not contend that it ever received such notice

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from the ABA. Absent that notice, the Department cannot reasonably conclude

that the ABA’s findings provide evidence that FCSL is unable to provide the

services described in its official publications and statements and to provide the

administrative resources necessary to comply with Title IV requirements. Compl.

Ex. 14 at 3-4. Compl. Ex. 15 at 2

                b.      Routine accreditation findings are not sufficient
                        evidence of an institutions failure to meet Title IV
                        financial    responsibility   and    administrative
                        capability requirements.

      Originally, the Department denied FCSL’s eligibility based on a bare list of

ABA findings. Compl. Ex. 14 at 3. When FCSL sought approval of its transaction

with a nonprofit institution, it provided the Department the asset purchase

agreement as part of the Department’s voluntary pre-acquisition review process.

Compl. ¶ 214.        That agreement contained a schedule (“Schedule 2.22(a)”)

identifying various ABA accreditation Standards with which FCSL was found not

to be in compliance. Compl. Ex. 18 (Schedule 2.22(a)). However, Schedule 2.22(a)

only listed those Standards. Id. It did not identify the reasons for the findings, the

severity of the findings, or the ABA’s requirements for demonstrating corrective

action. Id.

      In its May 13, 2021, Decision, the Department remarkably concluded, citing

Schedule 2.22(a) only, that FCSL is not capable of providing the services described

in its official publications and statements. Ex. 14 at 3-4. Without any apparent

factfinding of its own, the Department cited Schedule 2.22(a) and the list of


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standards to bolster its findings that FCSL is not financially or administratively

capable. Id.

      FCSL pointed out the gross insufficiency of this “evidence” in its May 24,

2021, Response. Compl. Ex. 19 at 8-9. In the Affirmation, the Department

attempted to cure this failure by relating slightly more information about the

findings. See Compl. Ex. 15 at 2-6. But it is apparent that the Department engaged

in no independent factfinding of its own. See Id. In other words, where the ABA

itself determined FCSL’s compliance issues did not warrant sanctions, the

Department—using the ABA’s description of those issues alone—determined that

nothing short of termination of Title IV eligibility was appropriate. The

Department’s usurpation of the ABA’s authority violates the HEA’s express

limitations. See 20 U.S.C. § 3403(b); see also 20 U.S.C. § 1232a.

      Moreover, since the ABA and FCSL began the process of addressing the

concerns raised by the site visit team, FCSL made substantial efforts to ABA’s

concerns prior to being terminated. Comp. ¶ 224. As recognized by Congress, the

ABA—not the Department—is in the best position to determine whether FCSL’s

efforts in that regard are sufficient to reestablish compliance with all Standards or

whether adverse action is warranted. See Armstrong, 980 F. Supp. at 63.

                c.    The Department’s unreasonable interpretation of
                      the ABA’s findings conflicts with the results of its
                      own investigation.

      The Department asserts that the February 21, 2021 ABA findings show that

it is not administratively capable of complying with Title IV requirements. Compl.

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Ex. 14 at 3; Compl. Ex. 15 at 2. To be clear, FCSL is providing all advertised services

to its students. The Department has not identified any instance of a student being

denied services at the school. Moreover, the Department recently issued the final

report on its own investigation into FCSL’s administration of Title IV programs,

and it determined FCSL is administratively capable of complying with Title IV

requirements. Compl. Ex. 20 at 4-5. (September 10, 2020, Final Program Review

Determination).

      That report, issued in September 2020, followed an August 2019 Program

Review in which the Department assessed “FCSL’s compliance with the statutes

and regulations as they pertain to the institution's administration of the Federal

student aid programs under [Title IV, HEA].” Compl. Ex. 21 at 1. In the final report,

the Department expressly found that “FCSL has taken the corrective actions

necessary to resolve Finding[] #1. Lack of Administrative Capability[].” Ex. 20 at

8. Put simply, the Department concluded that it had no basis to find FCSL was not

administratively capable of complying with Title IV requirements. Id.

      The ABA’s findings are not sufficient evidence for the Department to

disregard its own investigation into FCSL’s administrative practices and

independent determination that FCSL is administratively capable of complying

with Title IV requirements. See Defs. of Wildlife, 733 F.3d at 1115 (an agency action

is arbitrary and capricious if its decision runs counter to the evidence before it).

             3. FCSL did not breach its fiduciary duty to the Department.



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      The Department’s regulations detail specific requirements about what

events must be reported and when. See, e.g., 34 C.F.R. § 600.26; 34 C.F.R. §

600.21(a); 34 C.F.R. §668.171(h). Tellingly, the Department has not cited any of

those regulations in finding that FCSL withheld information in violation of a

fiduciary duty. FCSL has sought to keep the Department informed of every

reportable change in ownership and accreditation action as required by the

Department’s regulations. Compl. ¶ 236. And whenever the Department requested

additional information from the FCSL, FCSL provided it. Id. ¶ 237.

      Nonetheless, to bolster its factually unsupportable action, the Department

created new disclosure requirements out of whole cloth and claimed that FCSL

breached its fiduciary duties when it failed to follow them. That is not only

arbitrary and capricious, but it is a violation of FCSL’s basic due process rights. See

FCC v. Fox TV Stations, Inc., 567 U.S. 239, 253 (2012) (“Even when speech is not

at issue, the void for vagueness doctrine addresses at least two connected but

discrete due process concerns: first, that regulated parties should know what is

required of them so they may act accordingly; second, precision and guidance are

necessary so that those enforcing the law do not act in an arbitrary or

discriminatory way.”)

      The Department first claims that FCSL had an obligation to report the

February 2021 ABA findings, for which no sanctions were imposed. Next, it claims

that FCSL had an obligation to report an instance where Sterling waived certain

voting rights, which FCSL did disclose eight days before it was required to by

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regulation.   Finally, the Department spends the majority of the Affirmation

discussing the ABA’s consideration of FCSL’s application for its approval of a

transfer of the school to a nonprofit entity. As discussed below, the Department

has no reasonable basis to claim that FCSL’s communication of this information in

any way violated any controlling requirement.

                 a.    The Department’s regulations do not require
                       reporting routine accreditation matters.

        The Department’s regulations are explicit about when an institution must

report accreditation matters to the Department. Institutions are only required to

notify the Department when an accreditor “issue[s] an order, such as a show cause

order or similar action that, if not satisfied, could result in the withdrawal,

revocation or suspension of institutional accreditation for failing to meet one or

more of the agency’s standards.”      34 C.F.R. § 668.171(f)(1)(iv); 34 C.F.R. §

668.171(d)(1). No such order or action was issued by the ABA.

        Had the exchange of information between FCSL and the ABA prompted the

accrediting commission to take any action to imperil FCSL’s accreditation, both

FCSL and ABA would have notified the Department. See Id.; 34 C.F.R. § 600.26

(requiring accreditors to report adverse accreditation actions). But, with regard to

the matters raised by the Department, the ABA did not take action to sanction

FCSL or require it to show cause why its accreditation should not be withdrawn.

FCSL has maintained its status as a fully approved law school since 2002. Compl.

¶ 22.


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      Nonetheless, the Department arbitrarily contends that FCSL had an

obligation to disclose routine accreditation findings. Compl. Ex. 14 at 4-6. Upon

information and belief, the Department does not require other Title IV institutions

to disclose accreditation matters other than those required by its regulations. See

34 C.F.R. § 668.171(d)(1). The Department’s imposition of a reporting requirement

not applicable to any other institution further demonstrates the lack of fairness

afforded to FCSL and reveals the bad faith and pretextual nature of the

Department’s decision. Transactive Corp. v. United States, 91 F.3d 232, 237 (D.C.

Cir. 1996) (“A long line of precedent has established that an agency action is

arbitrary when the agency offered insufficient reasons for treating similar

situations differently”).

                b.     Reporting a potential change of ownership eight
                       days before the regulatory reporting requirement is
                       not a breach of fiduciary duty.

      Worse still, the Department claims that FCSL breached its fiduciary duty by

reporting an event eight days before the regulatory deadline. Compl. Ex. 14 at 5;

Compl. Ex. 15 at 13. As the Department noted in its decision, Sterling waived its

voting rights on April 22, 2020. Compl. Ex. 14 at 5; Compl. Ex. 15 (April 24, 2020

Notice to the Department re: Sterling’s waiver and June 1, 2020 response to

information requests). FCSL notified the Department of the change on April 24,

2020—just two days later. Id. The Department’s regulations require institutions




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to notify the Department of changes of control events within ten days.4 34 C.F.R.

§ 600.21(a). Nonetheless, the Department shockingly found that FCSL breached a

fiduciary duty by reporting that event eight days before that deadline. Compl. Ex.

14 at 5. The Department cannot reasonably claim that FCSL breached a fiduciary

duty to the Department by disclosing Sterling’s waiver two days after it happened

and eight days before the regulatory deadline.

      To further bolster its case, the Department notes that FCSL did not provide

documentation of the changes until June 1, 2020, despite requesting the

information on May 12. Id. But the Department fails to explain why, if the

information was so vital that it had to be disclosed with 48 hours, it waited eighteen

days after it received notice to request the documentation.          Indeed, in the

Affirmation, the Department contends this information was critical to its “prompt”

determination of how it affected FCSL’s Title IV participation. Compl. Ex. 14 at 15.

      Also, the Department did not impose any deadline in its May 12, 2021,

request. Compl. Ex. 4 at 2-3. In the Department’s initial follow up to the request,

on June 1, 2020, FCSL’s counsel provided all requested information on that same

day, and he provided additional information just two weeks later. See Compl. Ex.

4; Compl. Ex. 5. Further still, considering the Department took eighteen days to

request the information, the Department does not explain why it was unreasonable

for FCSL to take eighteen days to respond.



4FCSL does not concede that Sterling’s waiver of its ownership interest as a
change in control event under the Department’s regulations.
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      And, although the Department said the information was critical to its

“prompt” determination, to this day the Department has not notified FCSL of that

determination. Compl. ¶ 263.

      The insincerity of the Department’s contention is further laid bare by the fact

that, notwithstanding FCSL’s alleged egregious breach of fiduciary duty, it sought

to continue FCSL’s participation just months later without raising the issue at all.

See Compl. Ex. 16. If FCSL’s reporting of Sterling’s waiver amounted to a breach

of fiduciary duty, it raises the question of why the Department nonetheless offered

a provisional PPA in November 2020. And why is it only now that the Department

has first voiced its dissatisfaction with FCSL’s response from over a year ago?

Again, the Department seeks to justify its pretextual decision “with an explanation

for agency action that is incongruent with what the record reveals about the

agency’s priorities and decisionmaking process.” See Dep’t of Commerce v. New

York, 139 S. Ct. 2551, 2575 (2019)

                c.     The Department does not require institutions to
                       disclose preliminary plans to sell or transfer a
                       school.

      Finally, the Department asserts that FCSL had an affirmative obligation to

disclose every detail about every proposed transaction. That simply inconsistent

with the Department’s regulations. Those regulations are clear: an institution

must disclose a change of control event within 10 days after it happens. 34 C.F.R.

§ 600.21(b)(6).      The Department does not require the disclosure of any

information regarding a transaction before it happens. Id.

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      In 2019, FCSL made substantial efforts to transfer the school to an over 100-

year-old nonprofit university with substantial assets and unassailable financials.

Compl. ¶ 270. This transaction would have ensured the continued financial

viability of the school, resolving any concerns the Department had about its

financial responsibility. Before FCSL could close the transaction and apply for a

change in ownership under the Department’s regulations, it first had to obtain

approval from the ABA. Id. ¶ 272. After multiple reviews, hearings, and exchanges

of information, the ABA ultimately denied its approval. Id. ¶ 273. At no point in

that process did the ABA find that FSCL intentionally withheld any information.

Id. ¶ 274.

      The Department also offers a voluntary pre-acquisition review process,

which provides the opportunity to get feedback from the Department about

potential issues with a transaction. 64 Fed. Reg. 58608, 58612 (Oct. 29, 1999).

There is no requirement, nor is it expected, that an institution submit a “materially

complete” application for this process. Id. The process is not binding, and there is

no affirmative obligation to participate. Id. It is for the institution’s benefit only.

      Nonetheless, the Department appears to suggest that FCSL had an

obligation to disclose every aspect of FCSL’s proposed transaction when it

submitted its 2019 preacquisition review request in the summer of 2019. Compl.

Ex. 15 at 12. Equally concerning is that the Department conspicuously downplays

the fact that FCSL’s request was submitted through the Department’s Abbreviated

Preacquisition Review (“APAR”) process option. This option “only focuses on

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whether the Department will require an irrevocable 25% letter of credit [] to be

posted because the Institution’s new owner cannot submit two years of financials

to comply [with application requirements].” Compl. Ex. 22 at 1 (August 7, 2019

APAR letter). The Department cannot reasonably contend that as part of that

limited review process, FCSL had an obligation—fiduciary or otherwise—to give

any information that did not bear on the sufficiency of the proposed new owner’s

financial statements.

       Moreover, from the summer of 2019 through September 2020, the

Department and InfiLaw communicated frequently while seeking settlement of

potential liabilities associated with the closure of InfiLaw’s other two schools.

Compl. ¶ 282. These liabilities were not attributable to FCSL unless they went

unpaid (see 34 C.F.R. § 668.174(b)), and it was important to InfiLaw that it be able

to pay them without jeopardizing FCSL or its transfer to a nonprofit. Id. ¶ 284.

Throughout that process the Department could have asked for any information it

wanted about the terms of the proposed transaction. And it stands to reason the

Department did ask for any information that it genuinely wanted. Indeed, FCSL

consistently provided the Department with any information it requested. Id. ¶

286.

       In fact, the nonprofit seeking to acquire FCSL sent the Department a letter

on October 1, 2020, which explained to the Department the general terms of the

deal. Compl. Ex. 2 at 2. The nonprofit explained that the transaction would involve

its assumption of certain debt obligations. Id. at 2. It also explained that these had

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yet to be finalized and “would be disclosed on the same day audited balance sheet

submitted after closing [pursuant to the Department’s change in ownership

application process].” Id.

      Clearly, the Department was aware that the material terms of the transaction

would not be disclosed before closing. Which is why it is significant that it

nonetheless issued a provisional PPA for FCSL’s continued participation just two

months later. The Affirmation spends many pages discussing how InfiLaw’s debt

would be paid and how vital that information was to FCSL’s consideration as an

eligible institution. But when the Department was told that information would be

provided pursuant to the Department’s published requirements (i.e., after the

transaction), it made no objections, asked for no additional information, and even

offered to continue FCSL’s participation in Title IV for three more years. It is

outrageous that the Department now claims that FCSL had any obligation to

provide the information earlier.

      Yet in the Affirmation, the Department brazenly suggests that InfiLaw’s

desire to settle and pay liabilities assessed to the closed schools created a

heightened obligation to provide information that even the Department did not

deem important enough to request. Compl. Ex. 15 at 12. But the Department never

explains why that is the case.      InfiLaw never conditioned any settlement

agreement on the Department’s approval of the transaction. Compl. ¶ 297. In fact,

the terms of the proposed settlement were clear that InfiLaw remained liable for

the closed schools’ liabilities whether or not FCSL changed ownership. Id. ¶ 298.

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Really, the only term that substantially varied the default regulatory requirements

was acceptance of a payment plan that would prevent the Department from

drawing on the letter of credit that was collateralized by personal homes and funds.

Id. ¶ 299. There was nothing insidious about this arrangement. To the contrary,

InfiLaw only sought to pay what it owed. Id. ¶ 300.

      Ultimately, the Department’s ability to approve or disapprove a final

transaction would remain unchanged under the requirements of 34 C.F.R. §

668.31. Then, and only then, would FCSL have a fiduciary duty to disclose all

material term of the transaction.       Id.   The Affirmance spends many pages

discussing concerns about debt payments and service agreements with other

entities contemplated by the proposed transaction submitted to the ABA. But the

ABA’s findings are not binding on the Department, which would always be free to

deny the transaction if those arrangements failed to meet the Department’s

requirements.    Id.   Indeed, an institution may be wise to provide as much

information to the Department during the preacquisition review process prior to

closing a potentially irreversible transaction, but it does not have to.

      As with the ABA communications and the Sterling waivers, the Department

has gone out of its way to characterize a mundane action in a nefarious way. The

Department’s findings that FCSL violated its fiduciary duties are unsupported by

law and fact. See New York v. United States DOC, 351 F. Supp. 3d 502, 518

(S.D.N.Y. 2019) (“the APA does require that [] an agency . . . must . . . comply with

all applicable procedures and substantive laws; and articulate the facts and reasons

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— the real reasons — for that decision). There is simply no way these findings

are the result of fair, reasoned administrative decision making. Instead, they are

pretextual and demonstrate a failure to undertake a good-faith review of FCSL’s

application for reinstatement. Thus, they are contrary to the law. See Id.

             4. FCSL is financially responsible under the Department’s
                Letter of Credit Alternative.

      FCSL is financially responsible under the Department’s letter of credit

alternative by virtue of its posted letter of credit totaling almost 80 percent of the

Title IV received by FCSL in FYE 2020. See 34 C.F.R. § 668.175(c). The letter of

credit alternative provides that an institution that posts a satisfactory letter of

credit is financially responsible notwithstanding its inability to meet other

financial responsibility requirements. Id.

      So even if the Department had legitimate reasons to believe FCSL failed to

meet certain requirements, FCSL is nonetheless financially responsible once the

Secretary accepts the letter of credit. Id.

      And, in fact, the Secretary already determined that FCSL’s letter of credit is

sufficient to meet financial responsibility requirements.        In June 2019, the

Department concluded that by posting a letter of credit in an amount representing

70 percent of the Title IV program funds received by the institution in the most

recent fiscal year, the institution would qualify as a financially responsible

institution. Ex. 1 at 2.




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      Neither the May 13, 2021 nor the Affirmation explain why the 78 percent

letter of credit is not sufficient to meet the requirements of the letter of credit

alternative under 34 C.F.R. § 668.175(c). Congress requires the Department to

consider an institution’s total financial circumstances when determining the level

of security required under the letter of credit alternative. 20 U.S.C. § 1099c(c)(2).

The Department’s decisions evidence no such inquiry, nor do they offer any basis

to require more security that what the Department deemed sufficient in June 2019.

Indeed, as discussed above, FCSL’s financial condition has improved while its

receipt of Title IV funds has dropped.

      The Department’s failure to consider FCSL’s letter of credit in finding that

FCSL is not financially responsible renders the May 13, 2013 decision and

Affirmance arbitrary and capricious. Defs. of Wildlife, 733 F.3d at 1115 (an agency

action is arbitrary and capricious when the agency failed to consider an important

aspect of the problem). Both the HEA and the Department’s regulations require

consideration of the letter of credit alternative when determining whether an

institution is financially responsible.

   III.   Unless FCSL’s Title IV eligibility is immediately restored, it will
          be irreparably harmed.

      Courts have widely recognized that loss of Title IV eligibility is an existential

threat to an institution that, on its own, demonstrates clear irreparable harm. See

e.g., Fla. College of Bus. v. Accrediting Council for Indep. Colleges & Sch., 954 F.

Supp. 256, 259-60 (S.D. Fla. 1996) (“[The plaintiff] will suffer irreparable harm if


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an injunction is not issued[ because,] [w]ithout accreditation, [the plaintiff] cannot

receive Title IV funding, and therefore, [the plaintiff] cannot continue daily

operations and must close immediately”).5

      Like almost any institution of higher education, FCSL cannot survive

without Title IV funding. Compl. ¶ 319. In FYE 2020, 79 percent of the school’s

funding came from Title IV. Compl. 320. FCSL estimates that, for FYE 2021, Title

IV funds accounted for just over 80 percent of its revenue. Id.

      Despite the revenue cost, FCSL has continued to offer tuition-free courses

for its summer students. Id. ¶ 321. Notwithstanding a loss of $1.2 million in tuition

for these courses (amounting to 20 percent of the school’s annual revenue), FCSL

has continued to pay its staff and faculty in good faith. Id. However, it simply

cannot endure that financial burden any longer. Id. ¶ 322. Absent relief, FCSL will

be forced to close prior to commencing the fall term. Performance Unlimited v.

Questar Publishers, 52 F.3d 1373, 1382 (6th Cir. 1995) (“[economic harm resulting

in the loss the movant’s business] is precisely the type of harm which necessitates

the granting of preliminary injunctive relief pending [litigation], because the




5 Accord Edward Waters College, Inc. v. S. Ass’n of Colls. & Schs., 2005 U.S. Dist.
LEXIS 39443, *12 (M.D. Fla. Mar. 11, 2005) (“[T]he Court found that the College
demonstrated a substantial threat of irreparable injury by its showing that ‘critical
federal funding of the school and its students may be immediately jeopardized”);
Canterbury Career Sch. v. Riley, 883 F. Supp. 1097, 1105 (D.N.J. 1993) (“[W]here
denial of an injunction would result in a school no longer receiving income
provided by student financial aid programs and where such income is necessary to
continue operating the school, this would constitute irreparable injury.”).
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[resolution of the matter] will be a meaningless or hollow formality unless the

status quo is preserved.”)

      Unless access to Title IV is immediately restored, FCSL will not be able to

enroll any students for the fall term, which is scheduled to start on August 23, 2021.

Compl. ¶ 324. FCSL’s currently enrolled students are in limbo and will soon be

forced to withdraw, attend other schools as transient students, or seek to transfer

to other schools. Id. It is unreasonable to expect students to continue to wait until

the end of July before seeking alternatives. Ferrero v. Associated Materials Inc.,

923 F.2d 1441, 1449 (11th Cir. 1991) (finding irreparable harm due to loss of good

will and customers). If FCSL immediately regains access to Title IV, it believes it

can retain 90 of its currently active students. Id. ¶ 326.

      Moreover, without Title IV eligibility, FCSL cannot enroll any new first-year

students. Id. ¶ 327. At the time Department allowed FCSL’s PPA to expire,

applications for Fall 2020 entering class were up 38 percent over the previous year

at the same time. Id. ¶ 328. Based on prior trends, FCSL was on target for a fall

entering class of 150, compared to 92 and 68 the previous two years. Id. ¶ 328. If

immediately reinstated, FCSL believes it could yield a fall class of 70 first year

students. Id. ¶ 329.

      The loss of Title IV will also result in the loss of employment for dozens of

staff and faculty members. Id. ¶ 330 Four staff members have already been

terminated because of the impending closure. Absent relief from this Court, all

faculty will conclude their employment on July 31. Id. ¶ 331.

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      Lastly, FCSL has reached an agreement with a 100-year-old nonprofit

institution with more that $147 million in assets and composite scores of 3.0 for

both FYE 2018 and 2019—well above the Department’s 1.5 requirement. Id. ¶ 332;

Compl. Ex. 2. Subject to that agreement, the nonprofit would take over ownership

of FCSL while the Department and InfiLaw work to resolve CSL and ASLS’s

liabilities, which are more than covered by the $5.6 million letter of credit held by

the Department. FCSL cannot stay in business to consummate that transaction

absent immediate relief from this Court. See Vestavia Hills, Ltd. v. United States

SBA (In re Vestavia Hills, Ltd.), 618 B.R. 294, 306 (Bankr. S.D. Cal. 2020) (finding

irreparable harm where a senior housing community was barred from federal

COVID-19 relief funds that would have allowed continued operation while seeking

to sell the facility as a going concern).

    IV.   The balance of the equities and the public interest favor
          issuance of the requested injunctive relief.6

      FCSL has demonstrated its value to the Jacksonville community and region.

Its graduation rates, bar passage rates, and employment rates show that an FCSL

law degree provides a substantial benefit to its students. FCSL also prides itself on

nurturing a diverse student body and readying them for a profession that

historically has fallen short on inclusiveness. The public plainly has an interest in



6
 The balance of the equities and the public interest merge when the government is
a party. Nken v. Holder, 556 U.S. 418, 435 (2009). These factors primarily address
the impact of the injunction on non-parties. League of Wilderness Defenders/Blue
Mts. Biodiversity Project v. Connaughton, 752 F.3d 755, 766 (9th Cir. 2014).

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keeping schools like FCSL open, especially in an environment where focus on

ratings precludes access for well-qualified law school applicants (particularly

historically disadvantaged minorities). Fla. College of Bus., 954 F. Supp. at 854-

55; see also, Meyer v. Nebraska, 262 U.S. 390, 400 (1923) (“The American people

have always regarded education and acquisition of knowledge as matters of

supreme importance which should be diligently promoted”).

      For the reasons stated above, FCSL’s students will be substantially harmed

without emergency relief. Further, FCSL’s more than 6,000 alumni will see the

perception and value of their law degrees plummet because the Department seeks

to punish FCSL for reasons that should have no bearing upon the life of the school

or its students. Id. at 855 (finding the public has an interest in protecting the

investment the government has made in students whose employment prospects

and likelihood of repaying their loans would drop if their school lost eligibility).

And the public similarly has an interest in protecting the jobs and resources FCSL

offers to its faculty and staff, and the economic impact FCSL brings to the

Jacksonville community via the patronage of its students. Id.

      It would be cruel, unfair, and against public interest for FCSL and its

stakeholders to endure that type of damage—from which recovery would be

impossible—if it were ultimately determined that the Department’s actions were

improper. Id.

      On the other hand, requiring the Department to follow its own regulations

is not against the public interest. Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th

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Cir. 2013) (“[The government] cannot suffer harm from an injunction that merely

ends an unlawful practice or reads a statute as required to avoid constitutional

concerns”). As discussed above, FCSL’s most recent audited financial statements

demonstrate that there is minimal to no risk of closure due to financial concerns.

To the extent there is any such risk, the Department is fully protected by virtue of

the substantial letter of credit in its possession. Put simply, FCSL does not pose a

financial risk to the Department.

      FCSL remains fully accredited, and should FCSL be reinstated to Title IV, it

will be able to begin the process of seeking necessary approvals to transfer its

ownership to a well-established nonprofit. The Department cannot dispute that

that the nonprofit institution’s ownership will ensure FCSL’s financial security

indefinitely.

                                    Conclusion

      FCSL respectfully asks this Court to vacate the Department’s March 26, 2021

final decision to require Sterling’s signature as a condition of Title IV participation

and, pending a decision on the merits, order the Department to restore FCSL’s

access to Title IV, pursuant to its original PPA.

      Alternatively, FCSL requests that this Court vacate the Departments’ May

13, 2021, denial FCSL’s reinstatement application and restore FCSL’s Title IV

eligibility pending a decision on the merits.




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      Dated this July 20, 2021.

                                      Respectfully submitted,

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                             Certificate of Service

      I hereby certify that on this 20th day of July, 2021, this Emergency Motion

for Temporary Restraining Order and/or Preliminary Injunction was filed and

served via Middle District of Florida Courts E-filing upon all counsel registered to

receive electronic notifications, and also to counsel for Defendants via email at

James.Bickford@usdoj.gov

                                          /s/ David D. Burns
                                           Attorney

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